                                           Case 3:23-cv-05045-JSC Document 18 Filed 10/12/23 Page 1 of 2




                                   1                                                  UNITED STATES DISTRICT COURT

                                   2                                             NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                                                                                                        3:23-cv-05045-JSC
                                   4
                                              VIRAL DRM LLC                                  ,           Case No.
                                                                Plaintiff(s),
                                   5
                                                                                                         APPLICATION FOR ADMISSION OF
                                                    v.                                                   ATTORNEY PRO HAC VICE
                                   6
                                                                                                         (CIVIL LOCAL RULE 11-3)
                                   7
                                              The YouTube Uploaders Listed on Schedule A
                                                                                             ,
                                                                Defendant(s).
                                   8

                                   9

                                  10           I, Joel B. Rothman                          , an active member in good standing of the bar of

                                  11   Florida                                             , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: Plaintiff Viral DRM LLC                                        in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Matthew L. Rollin                                            , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-counsel’s bar number is: _________________.
                                                                                                         332631

                                  16   21301 Powerline Road, Suite 100, Boca Raton, FL 33433             8730 Wilshire Boulevard, Suite 350, Beverly Hills, CA 90211

                                  17    MY ADDRESS OF RECORD                                              LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   561.404.4350                                                      323.452.5600
                                        MY TELEPHONE # OF RECORD                                          LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       joel.rothman@sriplaw.com                                          matthew.rollin@sriplaw.com
                                  20    MY EMAIL ADDRESS OF RECORD                                        LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22           I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 98220                                            .
                                  24           A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                   1
                                               I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
                                            Case 3:23-cv-05045-JSC Document 18 Filed 10/12/23 Page 2 of 2




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: 10/11/2023                                                   Joel B. Rothman
                                                                                                           APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Joel B. Rothman                                              is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.
                                                                                                              ISTRIC
                                  15   Dated: October 12, 2023
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                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
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